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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 ROBERT P. STORCH; MICHAEL MISSAL;
 CHRISTI A. GRIMM; CARDELL K.
 RICHARDSON, SR.; SANDRA D. BRUCE;
 PHYLLIS K. FONG; LARRY D. TURNER;
 HANNIBAL “MIKE” WARE;

                               Plaintiffs,

                v.

 PETE HEGSETH, in his official capacity as
 Secretary of Defense; DOUGLAS A.
 COLLINS, in his official capacity as
 Secretary of Veterans Affairs; ROBERT F.
 KENNEDY, JR., in his official capacity as              No. 1:25-cv-00415-ACR
 Secretary of Health and Human Services;
 MARCO RUBIO, in his official capacity as
 Secretary of State; LINDA MCMAHON, in
 her official capacity as Secretary of
 Education; BROOKE ROLLINS, in her
 official capacity as Secretary of Agriculture;
 LORI CHAVEZ-DEREMER, in her official
 capacity as Secretary of Labor; KELLY
 LOEFFLER, in her official capacity as
 Administrator of the Small Business
 Administration; DONALD J. TRUMP, in his
 official capacity as President of the United
 States;

                               Defendants.



                 PLAINTIFFS’ NOTICE OF RECENT DEVELOPMENTS

       Plaintiffs write to advise the Court of recent factual developments relevant to this case.

Plaintiffs previously informed the Court that President Trump had nominated Cheryl Mason to

serve as inspector general of defendant U.S. Department of Veterans Affairs, a position lawfully

occupied by plaintiff Michael Missal. ECF.47. On June 4, the Committee on Veterans’ Affairs

held a hearing on Ms. Mason’s nomination. On June 11, the Committee voted along party lines to
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advance the nomination and referred it to the Committee on Homeland Security and Government

Affairs for 20 calendar days. See PN141-30 — Cheryl Mason — Department of Veterans Affairs,

Congress (June 11, 2025). 1 If there is a favorable vote by that second committee, or if the 20-day

period expires without the committee reporting the nomination, the nomination will be placed on

the Executive Calendar for a hearing and confirmation vote before the full Senate. See Unanimous

Consent Agreement—Nominations to Office of Inspector General, 155 Cong. Rec. S175 (daily ed.

Jan. 7, 2009) (statement of Sen. Harry Reid).

         Additionally, on or around June 2, President Trump announced that he was nominating

Platte Moring to serve as inspector general of defendant U.S. Department of Defense, a position

lawfully occupied by plaintiff Robert Storch. See PN246-11 — Platte Moring — Department of

Defense, Congress (June 2, 2025). 2 And on June 18, the Committee on Health, Education, Labor,

and Pensions held a hearing on the nomination of Anthony D’Esposito to serve as inspector general

of defendant U.S. Department of Labor, a position lawfully occupied by plaintiff Larry D. Turner.

See PN60-8 — Anthony D’Esposito — Department of Labor (June 18, 2025). 3

         These developments underscore the urgency of this litigation—which seeks to vindicate

the institutional interests of both Congress and the Offices of Inspector General—and in particular

the need for a prompt ruling, which plaintiffs respectfully request, on the parties’ pending

dispositive motions.




1
    https://www.congress.gov/nomination/119th-congress/141/30.
2
    https://www.congress.gov/nomination/119th-congress/246/11.
3
    https://www.congress.gov/nomination/119th-congress/60/8.
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June 26, 2025                      Respectfully submitted,

                                   /s/ Seth P. Waxman

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